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 8                                      UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11     ALCLIFF MORGAN DALEY,                         Case No.: 1:20-cv-01129-JLT-GSA

12                         Plaintiff,                ORDER DISCHARGING ORDER TO
                                                     SHOW CAUSE
13              v.
14     PELAYO, et al.,                               (Doc. 65)

15                         Defendants.
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18             Defendants submitted a confidential settlement conference statement on February 13,

19    2025. Accordingly, the Order to Show Cause issued February 12, 2025, is HEREBY

20    DISCHARGED.

21
      IT IS SO ORDERED.
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23    Dated:     February 14, 2025                               /s/ Sheila K. Oberto                .
                                                        UNITED STATES MAGISTRATE JUDGE
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